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Certificate of Admission
To the Bar of Illinois

1, Cynthia A. Grant, Clerk of the Supreme Court of Illinois, do hereby certify that
Jessica Kaminski

has been duly licensed and admitted to practice as an Attorney and Counselor at
Law within this State; has duly taken the required oath to support. the
CONSTITUTION OF THE UNITED STATES and of the STATE OF ILLINOIS, and
also the oath of office prescribed by law, that said name was entered upon the Roll
of Attorneys and Counselors in my office on 11/07/2019 and is in good standing, so
far as the records of this office disclose.

IN WITNESS WHEREOF, | have hereunto
subscribed my name and affixed the
seal of said Court, this 19th day of
January, 2022.

Cuthia A. Grud

Clerk,
Supreme Court of the State of Illinois

